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 4
     Attorney for Defendant
 5   FERNANDO LOPEZ AMARILLAS
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 7
                                  IN THE UNITED STATES DISTRICT COURT
 8
                                 FOR THE EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                        Case No.: CR.S-08-410 FCD
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                    Plaintiff,                        MEMORANDUM RE: CHANGE OF COUNSEL
12                                                    AND ORDER
            vs.
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     FERNANDO LOPEZ AMARILLAS,
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                    Defendant.
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            Based on conversations between attorney C. Emmet Mahle, the CJA Panel
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     Administrator, the court, attorney Gilberto Roque, and defendant Fernando Lopez Amarillas, all
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     parties agree that the court should sign an order taking the status conference off of the
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     December 8, 2008, calendar and substituting in Gilberto Roque for Emmett Mahle as the
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     appointed attorney of record for Mr. Lopez Amarillas. The substitution will take effect as of the
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     date the court signs the order. Accordingly, when Mr. Lopez Amarillas appears in court at his
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     next scheduled appearance on January 12, 2009, Mr. Roque will appear with him. The request
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     for a change of counsel is due to a breakdown in the attorney-client relationship.
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26
     DATED:       12/5/08        _____            /s/ C. Emmett Mahle
27                                                C. EMMETT MAHLE
                                                  Attorney for Defendant
28                                                FERNANDO LOPEZ AMARILLAS




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 1                                           ORDER
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 3         GOOD CAUSE APPEARING, the Status Conference presently set for December
 4   8, 2008, at 10:00 a.m. will be taken off calendar. The next appearance will be on the
 5   previously scheduled date of January 12, 2009, at 10:00 a.m.
 6         GOOD CAUSE APPEARING, effective as of the signing of this order, Gilberto
 7   Roque will be appointed as the CJA Panel attorney for defendant Fernando Lopez
 8   Amarillas in place of C. Emmett Mahle. Mr. Mahle is hereby relieved as counsel for Mr.
 9   Lopez Amarillas.
10         IT IS SO ORDERED.
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     DATED: December 5, 2008                  _______________________________________
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                                              FRANK C. DAMRELL, JR.
13                                            UNITED STATES DISTRICT JUDGE

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